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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

    United States of America            )
                                        )                  No. 2:07-CR-00578-DCN
           vs.                          )
                                        )
    Albert E. Parish, Jr.,              )             SENTENCING MEMORANDUM
                                        )
                           Defendant.   )
    ____________________________________)

           On October 5, 2007, Albert E. Parish, Jr. (“Parish” or “defendant”) pleaded

    guilty, pursuant to a written plea agreement, to two counts of committing mail fraud in

    violation of 18 U.S.C. § 1341 and one count of making false statements in violation of 18

    U.S.C. § 1001. At a hearing held June 26, 2008, the court sentenced defendant to a 292-

    month term of imprisonment, restitution of $66,820,167.08 (to be reduced after

    disbursements are made in the civil SEC-enforcement action), three years supervised

    release, and a special assessment of $300. That sentence was at the bottom of the

    advisory Guidelines range, but was substantially higher than the seventy-four month term

    of imprisonment that defendant argued was appropriate in this case.1 In this

    memorandum, the court explains how it applied the factors found at 18 U.S.C. § 3553(a)




           1
            Defendant’s memorandum in aid of sentencing did not request a specific
    sentence, arguing instead that the court should consider the data presented therein and
    impose a sentence that “will give him some glimmer of hope” of outliving his term of
    imprisonment. Def. Mem. at 29. However, it is clear from the rest of the sentencing
    memorandum and counsel’s argument at the sentencing hearing that defendant has
    argued a seventy-four month prison term is a reasonable sentence.

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    to reach the sentence imposed.2

                                      I. APPLICABLE LAW

            “A district court should begin all sentencing proceedings by correctly calculating

    the applicable Guidelines range.” Gall v. United States, 128 S. Ct. 586, 596 (2007).

    After calculating that range, the district court should then give the parties an opportunity

    to argue “for whatever sentence they deem appropriate.” Id. The district court must then

    consider all of the § 3553(a) factors, as applied to the particularized facts of the case

    before it, to determine which sentence best serves the factors. Id. In making its decision,

    the district court should “not presume that the Guidelines range is reasonable,” id.,

    although the court of appeals can (and the Fourth Circuit does) apply a presumption of

    reasonableness to within-Guidelines sentences, Rita v. United States, 127 S. Ct. 2456,

    2462-63 (2007).

            In United States v. Battle, 499 F.3d 315 (4th Cir. 2007), the Fourth Circuit

    explained how the factors § 3553(a) factors interact with the advisory Guidelines range:

            After calculating the sentence under the Guidelines, the district court must
            consider that sentence in light of the § 3553(a) factors. If the § 3553(a)
            factors support a sentence within the Guidelines range, the district court
            should impose a sentence within the range that best serves the factors. If the
            § 3553(a) factors do not support a sentence within the Guidelines range, the
            district court can impose a sentence outside the range that best serves the
            factors as long as it articulates why the factors support the sentence imposed.
            A district court must therefore consider the § 3553(a) factors in every case,
            regardless of whether the sentence imposed is within the Guidelines range.

    Id. at 323 (internal citations omitted).


            2
            Defendant presented various objections to the revised pre-sentence report (PSR),
    which the court overruled at the sentencing hearing. The court does not reconsider or
    otherwise address those issues here.

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           The district court also has an obligation to adequately explain how the factors

    applied in the case and affected the sentencing determination. If the sentence is within

    the Guidelines range, the district court need not offer a thorough explanation–a simple

    statement that it applied the factors will usually suffice so long as it is clear from the

    record that the court considered the relevant evidence and arguments. See id. at 324.

    Outside-Guidelines sentences will require much more thorough explanations of why the

    factors support the sentences. See id.; United States v. Green, 436 F.3d 449, 456 (4th

    Cir. 2006).

                                         II. DISCUSSION

           The court has already made the necessary factual findings and resolved the other

    legal disputes, and concluded that defendant’s Guidelines range is 292 to 365 months.

    The government argued for a sentence at the high end of the range; defendant argued that

    a sentence of 74.4 months’ imprisonment would avoid unwarranted sentencing

    disparities and best account for his health problems. Considering the § 3553(a) factors as

    applied to the particularized facts of this case, the court finds those factors support a

    sentence within the Guidelines range and therefore rejects defendant’s request for a

    below-Guidelines sentence. The court also finds that the factors support a sentence at the

    bottom of the advisory Guidelines range because it is “sufficient[] but not greater than

    necessary” to accomplish the purposes of sentencing.

    (1)    Section 3553(a)(1): The nature and circumstances of the offense and the
           history and characteristics of the defendant support a within-Guidelines
           sentence.

           This was a serious offense. For more than a decade, defendant orchestrated a

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    fraudulent investment scheme in which he knowingly misappropriated funds from his

    friends, his family, his coworkers, the elderly, and those who relied on their investments

    to care for themselves or ill relatives. Defendant was, in the literal sense, a confidence

    man. He used his stature in the community, including his position as a professor at

    Charleston Southern University (CSU), his work with the Chamber of Commerce,

    favorable coverage in the local media, and his Christianity to build trust with existing and

    prospective investors. He also used investors’ funds to inspire confidence by living an

    extravagant lifestyle, replete with private jet travel, luxury cars (including a purple Jaguar

    roadster with leopard-print convertible top), custom-made clothing, and expensive

    artwork for his personal use.

           In his memorandum in aid of sentencing, defendant asserted he was a well-

    meaning investment “facilitator” who, through happenstance, found himself involved in

    something that he could no longer control. Although defendant might have begun his

    scheme with good intentions, he encouraged victims to invest large sums of money long

    after he knew his scheme would collapse. The Securities and Exchange Commission

    (SEC) investigation began in February 2007 and the SEC enforcement action began on

    April 5, 2007 (defendant was checked into a local hospital with reported amnesia on

    March 29, 2007). In January and February 2007, defendant took $300,000 from one of

    his co-workers at CSU, presumably knowing that his co-worker planned on using those

    funds for his imminent retirement. In February 2007, a grandmother opened nine

    accounts with defendant, one for each of her grandchildren. Defendant accepted her

    “investment.” While defendant was the subject of the SEC’s investigation, he took an


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    investment of $250,000 from a middle-age couple, an amount that represented a

    significant portion of their life savings. The week before his scheme collapsed, defendant

    stole $175,000 from a 75-year-old couple he had known his entire life. Those stories

    undercut defendant’s contention that he never intended to harm his victims.3

           In written statements submitted before the hearing and in oral statements made at

    the hearing, many of defendant’s victims described—in tragic detail—their relationships

    with defendant and the effect his conduct had on their lives. Considering those

    statements in conjunction with defendant’s conduct, the conclusion that this was a serious

    offense is inescapable.

           Defendant’s personal characteristics do not support a substantially lighter

    sentence. Unlike many criminal defendants, Parish is a well-educated college professor

    who, by all accounts, had a pleasant childhood and has a caring family. This was not a

    crime of necessity, and defendant’s acts cannot be attributed to an underprivileged

    background. Defendant does have significant health problems, mostly relating to a

    chronic heart condition, which requires some consideration. The court finds those health

    issues do not require a below-Guidelines sentence because they are not so serious that the

    Bureau of Prisons will be unable to address his problems and imprisonment will not

    unnecessarily aggravate them.4 As discussed infra, however, the court finds defendant’s



           3
            These accounts are found in the written victim impact statements made to the
    court before sentencing.
           4
             In other words, defendant’s “special circumstances,” specifically his health
    issues, “are not special enough that, in light of § 3553(a), they require a sentence lower
    than the sentence the Guidelines provide.” Rita, 127 S. Ct. at 2470.

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    health problems warrant a sentence at the low-end of the Guidelines range.

    (2)     Section 3553(a)(2)(A): A sentence within the Guidelines range will
            adequately and reasonably reflect the seriousness of the offense, promote
            respect for the law, and provide just punishment for the offense.

            As discussed above, the crimes to which defendant pleaded guilty are serious.

    Accordingly, a lengthy term of imprisonment (i.e., the applicable Guidelines range) is

    required to reflect the seriousness of his offenses. There is also no doubt that the lengthy

    Guidelines range will provide a just punishment because defendant will spend most, if

    not all, of the rest of his life in prison. He will lose any chance to rebuild his career, to

    regain his once well-regarded status in the community, and will be separated from his

    family for a very long time. However, the Guidelines range is not overly punitive in light

    of the seriousness of the offense and the effect his crimes had on dozens of his victims.

    Finally, the pairing of a substantial term of imprisonment with this serious offense will

    promote respect for the law.

    (3)     Section 3553(a)(2)(B): A sentence within the Guidelines range will afford
            adequate deterrence to criminal conduct.

            Defendant has a low probability of recidivism. See United States Sentencing

    Commission, Recidivism and the “First Offender” 26 (2004) (finding that only 6.8% of

    defendants on all crimes with no prior arrests recidivate within two years of receiving

    probation or release); United States Sentencing Commission, Measuring Recidivism: The

    Criminal History Computation of the Federal Sentencing Guidelines 12 (2004) (finding

    that “recidivism rates decline relatively consistently as age increases” and that offenders

    over the age of fifty have a recidivism rate of only 9.5%). To the extent defendant is




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    likely to recidivate, a lengthy term of imprisonment will specifically prevent him from

    committing any further crimes.

           Given that defendant is statistically unlikely to commit any further crimes, it

    could be argued that the Guidelines range is higher than necessary to deter future

    wrongdoing. However, the court must be concerned with not only deterring this specific

    defendant from further wrongs, but also with deterring others from committing similar

    crimes. See United States v. Politano, 552 F.3d 69, 74 (1st Cir. 2008); United States v.

    Martin, 455 F.3d 1227, 1240 (11th Cir. 2006); see also United States v. Munoz, 974 F.2d

    493, 495 (4th Cir. 1992) (“The court may . . . impose a sentence to deter similar criminal

    conduct by others.”). A Guideline’ term of imprisonment in this case is required to deter

    others from orchestrating fraudulent investment schemes. A substantial term of

    imprisonment will send a clear message to others that such conduct entails serious

    consequences and will result in a lengthy term of imprisonment. Congress and the

    Sentencing Commission have expressed, in part through the Guidelines, that lengthy

    prison terms are necessary to deter white-collar crime–even if some might argue that

    lengthy sentences are unnecessary to accomplish that goal. See United States v.

    Thurston, 456 F.3d 211, 218 (1st Cir. 2006); Martin, 455 F.3d at 1240.

    (4)    Section 3553(a)(2)(C): A sentence within the Guidelines range will protect
           the public from further crimes of the defendant.

           As discussed above, a long term of imprisonment will certainly protect the public

    from defendant’s further crimes, to the extent he is prone to commit any more crimes.

    Although this factor may tend to support a lower sentence than the Guidelines range (i.e.,

    a Guidelines sentence may be greater than necessary to protect the public), the other

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    factors’ support for a lengthy prison term substantially outweighs this factor’s mitigating

    effects.

    (5)        Section 3553(a)(2)(D): Provide the defendant with needed educational or
               vocational training, medical care, or other correctional treatment in the most
               effective manner.

               Section 3553(a)(2)(D) supports neither a long term of imprisonment nor a short

    term of imprisonment. Defendant holds a doctorate degree in mathematics, meaning that

    he needs no educational or vocational training. There is also no indication that he needs

    “other correctional treatment.” But defendant will certainly need medical care while

    incarcerated. Defendant’s healthcare argument implicitly assumes is that he will not

    receive sufficient care while in custody. The court has reviewed the medical records

    submitted by defendant, heard the testimony of his medical records expert, and received

    counsel’s argument regarding his health. After conducting that review, the court finds

    that the Bureau of Prisons will be able to provide whatever treatment—physical, mental,

    or otherwise—that defendant requires.5

    (6)        Section 3553(a)(3) & (4): Among the kinds of sentences available, and
               considering the advisory Guidelines range, this case warrants a term of
               incarceration within the range.



               5
             While the taxpayers will suffer from having to pay for defendant’s healthcare,
    the court does not believe that warrants a below-Guidelines sentence. As the Fourth
    Circuit recently explained, “It seems uncontroversial to note that . . . the concern over
    who pays for the defendant’s incarceration can only go so far in supporting a variance.”
    United States v. Abu Ali, 528 F.3d 210, 268 (4th Cir. 2008). At least one court of
    appeals has held that the sentencing court cannot consider the cost of imprisonment in
    applying the § 3553(a) factors. See United States v. Tapia-Romero, 523 F.3d 1125, 1127
    (9th Cir. 2008) (“[Section] 3553(a) neither requires, nor allows, a court to consider the
    cost of imprisonment in determining the appropriate length of a defendant’s term of
    imprisonment.”).

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           There is no mandatory minimum in this case. Accordingly, the court may

    sentence defendant to probation up to the statutory maximum of thirty-five years, along

    with the usual options of restitution and supervised release. For the reasons stated

    elsewhere in this memorandum, the court believes that, among the available sentences, a

    within-Guidelines sentence is appropriate in this case.

    (7)    Section 3553(a)(5): The pertinent policy statements support a within-
           Guidelines term of incarceration.

           Congress’s intentions with respect to white-collar sentencing are best expressed

    in the Sarbanes-Oxley Act of 2002, Pub. L. 107-204, 116 Stat. 745. The Act

    substantially increased penalties for white-collar crime, including mail fraud, and

    directed the Sentencing Commission to amend the Guidelines “to reflect the serious

    nature of the offenses and penalties” in the Act. Id. §§ 902-905, 116 Stat. 745, 805-06.

    With respect to mail fraud, Congress increased the maximum penalty from five years to

    twenty years, evincing Congress’s intent that substantially higher sentences are warranted

    for fraudulent economic crimes. Id. § 903(a), 116 Stat. 745, 805.

   (8)    Section 3553(a)(6): A within-Guidelines sentence will not create unwarranted
          sentencing disparities among defendants with similar records who have been
          found guilty of similar conduct.

          Defendant’s primary argument for a below-Guidelines sentence is that the advisory

   range would result in extreme disparities among persons convicted of “similar” offenses.

   In support of his argument, defendant uses a data set obtained from the United States

   Sentencing Commission and, by filtering the data, allows defendant to argue that persons

   convicted of white-collar crimes involving losses in excess of $50 million receive an

   average sentence of 74.4 months incarceration (at least in cases not involving § 5K1.1

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    downward departures for substantial assistance).

           By its plain language, § 3553(a)(6) is concerned only with avoiding disparities

    among similarly situated defendants; that is, among defendants with similar records and

    who have engaged in similar conduct. In United States v. Abu Ali, 528 F.3d 210 (4th Cir.

    2008), the Fourth Circuit concluded the district court erred by comparing the defendant’s

    conduct to a dissimilar cases, and distinguishing the defendant’s conduct from similar

    cases, and using those faulty comparisons as a basis for its sentencing decision. Id. at

    262-65. Thus, when applying § 3553(a)(6), the sentencing court must take care not to

    “compar[e] the incomparable” or to distinguish the indistinguishable. Id, at 264.

           In the form presented, defendant’s statistical evidence is not a reliable measure of

    the typical sentence for defendants with similar records who engage in similar conduct.

    First, defendant’s data set includes cases from fiscal year 1999 through fiscal year 2006.

    In 2002, Congress amended the relevant statutes to provide increased penalties for white-

    collar crimes and directed the Sentencing Commission to increase penalties under the

    Guidelines for obstruction of justice. See Sarbanes-Oxley Act of 2002, Pub. L. 107-204

    §§ 805, 902-06, 116 Stat. 745.6 Following Congress’s directive, the Sentencing

    Commission amended several provisions relating to white-collar crimes to provide

    increased penalties for white collar crimes in early 2003. Defendant’s data thus includes

    three years of cases that did not involve the increased penalties under Sarbanes-Oxley and

    the subsequent Guidelines amendments. And, just as importantly, cases from 1999


            6
             Before Sarbanes-Oxley, five years was the maximum penalty for a single
     conviction of committing mail fraud in violation 18 U.S.C. § 1341. Congress increased
     the maximum penalty to twenty years, a four-fold increase.

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    through 2002 do not reflect society’s increased concern (as reflected in Sarbanes-Oxley)

    with white-collar crime following the collapse of Enron and other white-collar scandals.

           Defendant has not otherwise shown that his statistical analysis involves

    comparable cases, or that it excludes distinguishable cases. Defendant includes offenses

    calculated under USSG §§ 2B1.1 and 2F1.1, involve losses in excess of $50 million, and

    does not include § 5K1.1 departures. But the ability to compare cases stops there. It is

    impossible to tell whether defendant’s statistics included (or improperly excluded) cases

    with the number of victims involved here. Moreover, it is not clear the extent to which the

    data includes defendants who acted as investment advisors. Finally, there is no indication

    that the statistics include or exclude defendants who received enhancements for

    obstruction of justice.

           Having discredited defendant’s statistical evidence, the court has received the

    parties submissions and conducted its own research to find comparative cases. For every

    case defendant cited as requiring a low sentence, the government has countered with an

    equally persuasive case arguing for a high sentence. The court has encountered similar

    results in its own review of other cases.7 Because of the existing disparities, and the

    difficulty in comparing this unique case to other cases, the court finds that § 3553(a)(6)

    requires neither an above- or below-Guidelines sentence. At bottom, the factor is not as

    helpful as the other factors—which support a within-Guidelines sentence—to find the

    appropriate sentence. See Gall, 128 S. Ct. at 602 (holding that reasonableness turns on



            7
           Copies of the court’s research were made available to defendant and the
     Government prior to sentencing.

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    whether “the § 3553(a) factors, on the whole, justif[y] the sentence” (emphasis added)).

    Accordingly, after reviewing the parties’ anecdotal evidence and conducting its own

    research, the court is confident that a within-Guidelines sentence will not create

    unwarranted disparities.

    (9)    Section § 3553(a)(7): Defendant must provide restitution to the victims of his
           offense.

           This was an economic crime, and his victims suffered substantial economic harm.

    Accordingly, the court has found that restitution in the amount of $66,820,167.08 (to be

    reduced after disbursements are made in the civil SEC-enforcement action) is warranted.

    Of course, unless defendant wins the Powerball lottery, it will be impossible for him to

    make restitution in this amount.

    (10)   Because of defendant’s health problems, any sentence above the low-end of
           the Guidelines range would be “greater than necessary” to accomplish the
           purposes of sentencing.

           As discussed at the sentencing hearing and in defendant’s memorandum, defendant

    suffers from serious health problems, particularly chronic coronary disease. All parties

    seem to agree that defendant has a less than normal life expectancy, and that defendant

    may not outlive a sentence at even the bottom of the Guidelines range. While the §

    3553(a) factors support the lengthy term of imprisonment recommended by the

    Guidelines, defendant’s personal health problems and life expectancy mean that any

    sentence above the low-end of the Guidelines would be “greater than necessary” to serve

    the purposes of § 3553(a)(2). See United States v. Shortt, 485 F.3d 243, 248 (4th Cir.

    2007) (“[A] sentence that is greater than necessary to serve [the purposes of § 3553(a)(2)]

    is unreasonable.”). Accordingly, and having considered the remainder of the § 3553(a)

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    factors, the court finds the factors support a sentence at the bottom of the advisory

    Guidelines range.

                                       III. CONCLUSION

           For the foregoing reasons, the court finds the factors located at § 3553(a) support a

    sentence of 292 months’ imprisonment, restitution of $66,820,167.08 (to be reduced after

    disbursements are made in the civil SEC-enforcement action), three years supervised

    release, and a special assessment of $300.

           AND IT IS SO ORDERED.




                                          ________________________________________
                                          DAVID C. NORTON
                                          CHIEF UNITED STATES DISTRICT JUDGE

    July 9, 2008
    Charleston, South Carolina




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